Case 2:04-cr-20127-BBD Document 65 Filed 07/12/05 Page 1 of 6 Page|D 58

mm B`? MQ‘/__ o.c.
IN THE UNITED STATES DISTRICT COURT 05 JUL l 2
FOR THE WESTERN DISTRICT oF TENNESSEE P" 3’ 52

 

WESTERN DIVISION THOH‘AS M. G(]q g
G£Rig U.S t?-‘STF@CTCOUHT
W/u or F:~:, .:‘:-i¢.-ita~ls
UNITED sTATEs OF AMERICA,
Plaintiff, ease No.: 04-20127 D
V.
JEROME REED,

Defendant.

 

ORDER GRANTING DEFENDANT’S MO'I`ION TO SUPPRESS

 

Before the Court is Det`endant’s Motion to Suppress Certain Evidence. The Court heard
evidence on the motion on November 17, 2004, March l l, 2005, and July 8, 2005. The Court heard
testimony from the following witnesses: Ot`t`lcer David Meyer, Mr. Melvin Sugars, Officer Hanson,
Ms. Ann Patricia Sears, Mr. J ames Howard Schultz, Ms. Shirley Rogers, and Mr. T. Diallo. After
consideration of all the evidence in the case, the Court finds that probable cause did not exist to stop
the vehicle on November 1, 2003. Because the stop Was illegal, any evidence seized flowing from
the illegal stop must be suppressed as violative of the Fourth Arnendment.

FACTUAL BACKGROUND

On November l, 2003, Officer David Meyers of the Memphis Police Department stopped
a 1992 Isuzu Rodeo proceeding northbound on or near 3394 Macon Road in Memphis, Tennessee.
Jerome Reed, (“Defendant”), was a passenger in the vehicl.e, which was being operated by Mr.

Melvin Sugars. OfficerMeyer testified that from three to four car lengths behind the subject ve `

   
 

he observed that the driver was not wearing a seat belt. In describing how he was able '.

Case 2:04-cr-20127-BBD Document 65 Filed 07/12/05 Page 2 of 6 Page|D 59

the driver was not wearing a seat belt, Officer Meyer stated:

A. Well, you don’t have your seat belt on, you can see two lines straight down

instead of just one and you will see the seat belt across, you can clear (sic) see two

lines of the seat belt straight down.

Testimoriy of Of`ficer David Meyer. November 17, 2004 transcript, p. 22, LL 22-25.

On March ll, 2005, the Court heard from Mr. Melvin Sugars, the driver, who testified that
the Isuzu had tinted windows. Mr. Sugars further testified as follows in response to the following
question:

Q. Let me - let me take you back to driving with Mr. Reed and Annette, you said

you were going to a store, can you tell the court what happened when you went to the

store?

A. Well, we went to one store on National but the store was closed, so we left and

went to another store, And after we went to that store Annette got out - we parked,

Annette got out of the truck and went inside the store. And at that time an officer

passed us and went up the street and turned around and waited at the corner. So

Annette came back and got in the truck, she asked me to take her pack (sic) to the

other store because they wouldn’t cash her money order there, so went pack (sic) to

the store on National.

Testimony of Melvin Sugars, March ll, 2005, p. l 1, LL 3-16.

Mr. Sugars indicated that the Isuzu had tinted windows similar to the windows of the Isuzu
depicted on Exhibit l.

On July 8, 2005, the Governrnent elicited testimony from a number of witnesses, all of
whom testified that the Isuzu did not have tinted windows

The witnesses were Officer Hanson, who wrote the tow ticket for the vehicle; Ms. Shirley
Rogers, who sold the vehicle in 2003 and repossessed it in July of 2003; Ms. Anne Sears, who
brought the vehicle in 2003, and forfeited it to Golden Tit]e Loan Company in early 2004; Mr.

Schultz, district manager for Golden Title Loan Company, who “recovered” the vehicle from Ms.

Case 2:04-cr-20127-BBD Document 65 Filed 07/12/05 Page 3 of 6 Page|D 60

Sears for non-payment; and Mr. Tidj anie Diallo, the current owner, who purchased the vehicle from
Golden Title Loan Company. All of these witnesses testified that the vehicle did not have tinted
windows. Mr. Schultz denied that the vehicle contained “factory tinted” windows even though the
“light” tint was clearly visible in the photo exhibits submitted by the Government. Mr. Diallo later
testified that the vehicle did contain factory tinted windows _S__e__e Exhibits 5 and 7.
ANALYSIS

A traffic stop and the attendant detention of a driver or passenger is reasonable under the
Fourth Amendment if law enforcement officers have probable cause to believe a traffic violation
occurred, “and it is irrelevant what else the officer knew or suspected about the traffic violator at the
time of the stop.” Um'tea' States v. Ferguson, 8 F.3d 385, 391 (6th Cir. 1993). See also Um'ted
Srares v. Heath, 259 F.3d 522, 528 (6th Cir. 2001) (discussing the Terry stop as an exception to the
probable cause requirement).

The intentional stopping of an automobile by a police officer is a seizure within the meaning
of the Fourth and Fourteenth Amendments. Brower v. Courrty ofInyo, 489 U.S. 593, 596-97, 109
S.Ct. 1378, 1381, 103 L.Ed.2d 628 (1989); Delaware v. Prouse, 440 U.S. 648, 653, 661, 99 S.Ct.
1391 , 1396, 1400, 59 L.Ed.2d 660 (1979). A stop based upon the violation of a traffic law for which
custodial arrest is not permitted is analogous to the stops authorized by Terry v. Ohio, 392 U.S. l,
88 S.Ct. 1868 (1968).

An ordinary traffic stop constitutes a limited seizure within the meaning of the Fourth and
Fourteenth Amendments and therefore must be justified by probable cause or a reasonable suspicion,
based on articulable facts. See Whren v. Um`ted States, 517 U.S. 806, 809-10, 116 S.Ct. 1769, 135

L.Ed.2d 89 (1966).

Case 2:04-cr-20127-BBD Document 65 Filed 07/12/05 Page 4 of 6 Page|D 61

Probable cause is a blind concept - turning on the assessment of probabilities in particular
factual contexts Illl`nois v. Gates, 462 U.S. 213, 232, 103 S.Ct. 2317, 76 L.Ed.2d 527 (1983).

An automobile stop is subject to the constitutional imperative that it not be unreasonable
under the circumstances As a general matter, the decision to stop an automobile is reasonable where
police have probable cause to believe that the traffic violation has occurred. Whren, supra. In the
instant case, the alleged traffic violation was failure to wear seat belt. A seat belt violation is
sufficient to support a traffic stop.

At the November 17, 2004 hearing, the Court expressed a healthy skepticism at the ofticer’s
ability, from three to four car lengths back, to observe whether the driver of a moving vehicle was
wearing a seat belt. After viewing the Govemment’s photographs, taken from very close up, the
Court finds that the windows were slightly tinted, making it extremely unlikely that the officer was
able to make the testimonial observation of a seat belt violation. These photographs corroborate the
testimony of Mr. Sugars. It is true that the windows were not clarkly tinted, but they were none the
less tinted, The tint caused the windows to be shadowed or shrouded. The Court finds that it would
have been difficult, indeed highly unlikely, that from three to four car lengths away, the officer
would have been able to determine that Mr. Sugars, a large man, was not wearing a seat belt. This
finding is further supported by the fact that the officer was unable to see the female who was a
passenger in the front seat. Thus, the Court finds that Officer Meyer’s testimony regarding the traffic
violation is not credible, and that the stop was pretextual

Officer Meyer did not testify that he observed any other traffic violations Inasmuch as the
Court finds that the officer’s testimony that he observed a seat belt violation is not credible, the

Court will not credit that testimony. Accordingly, there was no basis for the stop of the vehicle,

Case 2:04-cr-20127-BBD Document 65 Filed 07/12/05 Page 5 of 6 Page|D 62

making it an illegal stop which violated the Fourth Amendrnent. All evidence obtained resulting

from the illegal stop, seizure, and search must be suppressed as fruit of the poisonous tree.

As a passenger, Mr. Reed has standing to challenge the stop, seizure and search. Mr. Reed’s

motion to suppress is GRANTED, and all evidence is suppressed as to Mr. Reed.

rr rs so 0RDERED this [L day er %“Ej,, ,2005.

ICE B DONALD
UNITED STATES DISTRICT JUDGE

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 65 in
case 2:04-CR-20127 was distributed by faX, mail, or direct printing on
.luly 12, 2005 to the parties listed.

 

 

Edwin A. Perry

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

l\/lemphis7 TN 38103

Camille Reese Mcl\/lullen
U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Katrina U. Earley

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

